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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION


City of Chicago,

                    Plaintiff,

        v.                                          Civil Action No. 1:21-cv-05162

DoorDash, Inc. and Caviar, LLC,                     Hon. Jeremy C. Daniel
                                                    Magistrate Judge Jeffrey T. Gilbert
                    Defendants.



                                   JOINT STATUS REPORT

        Pursuant to this Court’s orders dated December 23, 2022 (ECF No. 90) and December 19,

2022 (ECF No. 87) directing the parties to file a status report seven days after each rolling

production deadline to provide information about the last rolling production, what has been

produced to date in total, and what remains to be produced, the parties hereby file this Joint Status

Report concerning the August 11, 2023 production deadline.

I.      Status of the City’s Document Productions

        A.     Documents Produced by the City To Date

        The City has produced 2,917 documents, totaling 12,427 pages, in rolling productions. The

City’s prior productions are described in more detail in the January 20, February 10, March 3,

March 24, April 14, May 5, May 25, June 16, July 7, and July 28 joint status reports (ECF Nos.

96, 101, 105, 109, 115, 151, 164, 174, 194, 200).
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         The City’s August 11 production contained 59 documents and 178 pages. This production

contained documents responsive to the following requests:

         •    RFP 5 (public records related to this action)

         •    RFP 65 (documents relating to correspondence between DoorDash and the City’s
              Department of Business Affairs and Consumer Protection (BACP) regarding
              compliance with the City’s requirements for consumer disclosures by third-party meal
              delivery companies)

         B.      Remaining Documents to be Produced

         The City is in the process of searching for and reviewing communications between the City

and certain third parties, as requested in DoorDash’s Fifth Set of RFPs. The City is also reviewing

communications between the City and certain law enforcement agencies pursuant to RFP 36, and

the parties are discussing the scope of documents to produced. The City also continues to evaluate

DoorDash’s request to add an additional custodian for searches related to certain requests for

production, and is investigating whether BACP possesses communications related to third-party

meal delivery “best practices” and “long-term policy goals,” as requested by RFP 82.

II.      Status of DoorDash’s Document Productions

         A.      Documents Produced by DoorDash to Date

         On August 11, 2023, DoorDash produced 878 documents, comprising 4,930 pages. This

production included custodial documents resulting from the agreed-upon portions of DoorDash’s

custodial search methodology, as well as documents produced in related investigations and

litigations that are responsive to the City’s requests in this litigation and relevant to the parties’

claims and defenses. Since August 2022, DoorDash has produced a total of 3,134 documents and

17,856 pages across sixteen productions. The documents produced to date include:
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            •   Custodial documents responsive to the City’s document requests as to minimum

                amount promotional discounts, non-partner restaurants, Dasher pay, consumer fees,

                and menu pricing;

            •   Documents identified in known non-custodial locations;

            •   Documents identified from DoorDash’s review of documents produced in related

                investigations and litigations;

            •   Spreadsheets that were created in order to respond to the City’s requests for specific

                data.

These productions are responsive to more than two dozen of the City’s requests, including but not

limited to RFP Nos. 1-10, 12-17, 19-20, 25-27, 29-30, 32, 37-39, 43, 45, 49, 52, and 53-55 and

Interrogatory No. 8.

       B.       Remaining Documents to be Produced

       DoorDash continues to review for production custodial documents and documents

produced in other related matters, as well as non-custodial documents. As to data requested by the

City, DoorDash has undertaken significant efforts to create spreadsheets containing data

responsive to the City’s requests, even though the documents that the City requests do not exist

and are not kept in the ordinary course of business, and continues to investigate whether additional

data responsive to the City’s requests exists and can be produced, including orders placed by daily

website visitors in Chicago and amounts of money related to orders placed from non-partner

restaurants in Chicago. DoorDash will continue to make rolling productions of these materials as

practicable on the three-week schedule agreed-upon by the parties.

       As set forth separately in the parties’ March 23 Joint Status Report, the parties have

ongoing disputes relating to DoorDash’s search methodology for documents. In the interest of
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moving discovery forward, DoorDash has begun collecting and reviewing documents responsive

to the agreed-upon portions of DoorDash’s search methodology as set forth in the March 23 Joint

Status Report and anticipates making additional productions of documents pursuant to these

portions of its search methodology on a rolling basis moving forward. However, as set forth in

the May 5, 2023 Production Status Report and in DoorDash’s opposition to the City’s motion to

compel to add Stanley Tang as a custodian, DoorDash will wait to begin custodial review and

production as to those portions of the search methodology affected by the City’s dispute as to Mr.

Tang and as to the earlier time period on menu pricing pending resolution of that motion.
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DATED: August 18, 2023                Respectfully submitted,

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